8:16-cr-00062-RFR-SMB          Doc # 139     Filed: 11/21/16     Page 1 of 1 - Page ID # 322




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                   8:16CR62
                                               )
       vs.                                     )                    ORDER
                                               )
FRANCISCO GOMEZ,                               )
ROSE GOMEZ,                                    )
JASON HIBBS,                                   )
MANUEL ORTIZ,                                  )
LORI FOMANEK and                               )
MARIA ROBLES-ROJAS,                            )
                                               )
                      Defendants.              )


       This matter is before the court on the motion for additional time to file pretrial motions
by defendant Francisco Gomez (Gomez) (Filing No. 138). Gomez seeks an additional twenty-
one days in which to file pretrial motions. Gomez’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted.
       IT IS ORDERED:
       Defendant Gomez's motion for an extension of time (Filing No. 138) is granted. Gomez
is given until on or before December 16, 2016, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between November 21, 2016,
and December 16, 2016, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 21st day of November, 2016.
                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
